Case 2:04-cV-02599-.]DB-tmp Document 16 Filed 09/01/05 Page 1 of 2 Page|D 41

rN THE UNrrED s'rATES DisTRiCT COURT Ftl.Er) civ __W w_ D_C_
FoR THE WESTERN DISTRICT or TENNESSEE

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TONY LEON WHITE, }'HOM&\§ M_ 301 M)
LEP,!'<, tt$. tiil`t:?i€'? COURT

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Plaintiff, k ~ ‘»17 1-‘ w-r:‘_‘?‘,~.r'i*.‘{§
v. No. 04-2599 B

JO ANNE B. BARNHART, Commissioner of Social Security,

Defendant.

 

ORDER ADOPTING MAGISTRATE IUDGE’S REPORT & RECOMMENDATION

 

The plaintift`, Tony Leon White, appealed from a decision of the Commission of Sociai
Security finding that White was not Without fault in receiving and accepting an overpayment of
Social Security disability payments The Court referred the appeal to Magistrate Judge Tu M. Pham.
On August 5, 2005, the Magistrate Judge entered a report and recommended that the
Commissioner’s decision be reversed and remanded Because no objections Were filed and based
upon a de Lv_o_ review of the before it, the Court adopts the report in fuil, REVERSES the decision
of the ALJ, and REMANDS this case to the Commissioner for further proceedings in accordance
With Magistrate Judge Pham’s report.

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lT ls so 0RDERE1) trial day cf August, 2005.

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J. A EL BREEN
ITE STATES DISTRICT IUDGE

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This notice confirms a copy ofthe document docketed as number 16 in
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Honorable J. Breen
US DISTRICT COURT

